

Guerre v New York City Tr. Auth. (2025 NY Slip Op 50020(U))




[*1]


Guerre v New York City Tr. Auth.


2025 NY Slip Op 50020(U)


Decided on January 14, 2025


Supreme Court, Kings County


Frias-Colon, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 14, 2025
Supreme Court, Kings County

Cathrina Guerre, Plaintiff,

againstNew York City Transit Authority, Defendant.

Index No. 528327/2022

For Plaintiff Cathrina Guerre: 
Redmond Law Firm PLLC, 80 Broad Street Ste. 1202, NY, NY 10004
212-799-8989 credmond&amp;commat;redmondfirm.com
For Defendant NYCTA: 
James G. Preston of the Preston Law Firm P.C., 118a Jackson Ave., Syosset, NY 11791
516-322-3990 jpreston&amp;commat;jgprestonlaw.com


Patria Frias-Colón, J.

Recitation as per CPLR §§ 2219(a) and/or 3212(b) of papers considered on review of this motion:
NYSCEF Doc #s 16-17; 27-30; 37-38 by Def.
NYSCEF Doc #s 2; 31-36 by Plaintiff
NYSCEF Doc # 26
Upon the foregoing cited papers and after oral argument on November 13, 2024, pursuant to CPLR § 3211, the Decision and Order on Defendant's Motion to Dismiss Plaintiff's complaint is GRANTED.
On September 29, 2022, pursuant to General Municipal Law § 50-e(5), Plaintiff filed an Order to Show Cause ("OSC") seeking leave to file a late Notice of Claim [FN1]
which Defendant [*2]opposed.[FN2]
On January 3, 2023, the Court granted Plaintiff's OSC [FN3]
(C. Mallafre-Melendez, J.) and Defendant appealed.[FN4]
On April 17, 2024 the Appellate Division Second Department issued an Order reversing the Court's decision and further stated that "in the exercise of discretion, with costs, the petition is denied, and the proceeding is dismissed."[FN5]
The Court will not consider arguments regarding Plaintiff's failure to comply with the General Municipal Law. The issues raised herein were previously litigated and are barred by res judicata.[FN6]
Pursuant to binding Appellate Division, Second Department authority, it is the law of the case that Plaintiff's OSC is denied and that the entire proceeding is dismissed.[FN7]

This constitutes the Decision and Order of the Court.
Date: January 14, 2025
Brooklyn, New Yor
Hon. Patria Frias-Colón, J.S.C.



Footnotes

Footnote 1:NYSCEF Doc. #s 2 &amp; 13.

Footnote 2:NYSCEF Doc. #s 16-17.

Footnote 3:See NYSCEF Doc. # 19.

Footnote 4:See NYSCEF Doc. # 21.

Footnote 5:See NYSCEF Doc. # 26.

Footnote 6:See Schwarz v. Schwarz, 150 AD3d 915 (2d Dept. 2017) ("The doctrine of res judicata operates to preclude the reconsideration of claims actually litigated and resolved in a prior proceeding, as well as claims for different relief against the same party which arise out of the same factual grouping or transaction, and which should have or could have been resolved in the prior proceeding").

Footnote 7:See Brownrigg v. New York City Hous. Auth., 29 AD3d 721 (2d Dept. 2006) ("The doctrine of the law of the case seeks to prevent relitigation of issues of law that have already been determined at an earlier stage of the proceeding").






